      Case 2:14-cr-00152-SMJ      ECF No. 236    filed 06/24/15   PageID.1343 Page 1 of 1




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                            UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                       No. 2:14-CR-152-SMJ-2
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 9                       Plaintiff,                  ORDER GRANTING
                                                     DEFENDANT’S UNOPPOSED
10 vs.                                               MOTION TO PERMANENTLY
11                                                   LIFT CURFEW CONDITION
   DESTANIE TALETHIA DANIEL,                         AND GRANTING MOTION
12
                                                     TO EXPEDITE
13                       Defendant.
14         Before the Court is Defendant’s Motion to Permanently Lift Curfew
15   Condition, and Motion to Expedite. The Defendant, at the suggestion of U.S.
16   Probation, wishes to have her curfew lifted for the reasons set forth in the Motion.
17   Neither the United States, nor the U.S. Probation Office, object to this request.
18   Accordingly,
19         IT IS ORDERED that the Motion to Expedite, ECF No. 235 is
20   GRANTED. The Motion to Permanently Lift Curfew Condition, ECF No. 234,
21   is GRANTED.        Defendant shall no longer be subject to the pretrial release
22   condition of court-imposed curfew.
23         All other terms and conditions of pretrial release not inconsistent herewith
24   shall remain in full force and effect.
25         DATED June 24, 2015.
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27                                    _____________________________________
                                                JOHN T. RODGERS
28                                     UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
